                                                           Case 21-01167-abl       Doc 33     Entered 01/12/22 14:55:51       Page 1 of 17



                                                       1   Bart K. Larsen, Esq.
                                                           Nevada Bar No. 8538
                                                       2   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
                                                       3   SHEA LARSEN
                                                           1731 Village Center Circle, Suite 150
                                                       4   Las Vegas, Nevada 89134
                                                           Telephone: (702) 471-7432
                                                       5   Fax: (702) 926-9683
                                                           Email: jshea@shea.law
                                                       6           blarsen@shea.law
                                                                   kwyant@shea.law
                                                       7
                                                           Attorneys for HASelect-Medical Receivables
                                                       8   Litigation Finance Fund International SP
                                                       9                            UNITED STATES BANKRUPTCY COURT
                                                      10                                      DISTRICT OF NEVADA
                                                      11   In re:
                                                                                                                    Case No. 21-14486-abl
              1731 Village Center Circle, Suite 150




                                                      12   INFINITY CAPITAL MANAGEMENT, INC.                        Chapter 7
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13                         Debtor.
                        (702) 471-7432




                                                      14
                                                           HASELECT-MEDICAL RECEIVABLES
                                                      15   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP,
                                                      16
                                                                                 Plaintiff,                         Adversary Case No. 21-01167-abl
                                                      17
                                                           v.
                                                      18
                                                           TECUMSEH–INFINITY MEDICAL
                                                      19   RECEIVABLES FUND, LP,
                                                      20                        Defendant.
                                                      21
                                                           TECUMSEH–INFINITY MEDICAL
                                                      22   RECEIVABLES FUND, LP,
                                                      23                       Counter-Plaintiff,
                                                      24   v.
                                                      25   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                      26   INTERNATIONAL SP; ROBERT E. ATKINSON,
                                                           CHAPTER 7 TRUSTEE
                                                      27
                                                                                Counter-Defendants.
                                                      28


                                                                                                      Page 1 of 4
                                                           Case 21-01167-abl      Doc 33    Entered 01/12/22 14:55:51      Page 2 of 17



                                                       1           NOTICE OF ISSUANCE OF SUBPOENA TO PRODUCE DOCUMENTS,
                                                               INFORMATION, OR OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A
                                                       2                BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

                                                       3          TO ALL INTERESTED PARTIES AND THEIR RESPECTIVE COUNSEL:

                                                       4          PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 45(a)(4) and Fed. R. Bankr. P.

                                                       5   2004, HASelect-Medical Receivables Litigation Finance Fund International SP (“HASelect”), by

                                                       6   and through its undersigned counsel, intends to serve the Subpoena to Produce Documents,

                                                       7   Information, or Objects or to Permit Inspection of Premises in a Bankruptcy Case (or Adversary

                                                       8   Proceeding) attached hereto as Exhibit 1 on THREE BELL CAPITAL, LLC.

                                                       9          DATED this 12th day of January, 2022.

                                                      10                                                    SHEA LARSEN

                                                      11
                                                                                                            /s/ Bart K. Larsen, Esq.
              1731 Village Center Circle, Suite 150




                                                      12                                                    James Patrick Shea, Esq.
                                                                                                            Nevada Bar No. 405
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13                                                    Bart K. Larsen, Esq.
                        (702) 471-7432




                                                                                                            Nevada Bar No. 8538
                                                      14                                                    Kyle M. Wyant, Esq.
                                                                                                            Nevada Bar No. 14652
                                                      15                                                    1731 Village Center Circle, Suite 150
                                                                                                            Las Vegas, Nevada 89134
                                                      16
                                                                                                            Attorneys for HASelect-Medical Receivables
                                                      17                                                    Litigation Finance Fund International SP
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                                                                                                    Page 2 of 4
                                                           Case 21-01167-abl        Doc 33    Entered 01/12/22 14:55:51       Page 3 of 17



                                                       1                                     CERTIFICATE OF SERVICE

                                                       2        1.    On January 12, 2022, I served the following document(s): NOTICE OF
                                                                      ISSUANCE OF SUBPOENA TO PRODUCE DOCUMENTS,
                                                       3              INFORMATION, OR OBJECTS OR TO PERMIT INSPECTION OF
                                                                      PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
                                                       4
                                                                2.    I served the above document(s) by the following means to the persons as listed
                                                       5              below:
                                                       6              ց        a.       ECF System:
                                                       7        ROBERT E. ATKINSON
                                                                Robert@ch7.vegas, TrusteeECF@ch7.vegas;ecf.alert+atkinson@titlexi.com
                                                       8
                                                                CLARISSE L. CRISOSTOMO on behalf of Trustee ROBERT E. ATKINSON
                                                       9        clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                      10        BRADFORD IRELAN on behalf of Creditor HEALTHPLUS IMAGINING OF TEXAS,
                                                                LLC
                                                      11        birelan@imtexaslaw.com,
                                                                jstephens@imtexaslaw.com;dhall@imtexaslaw.com;ynguyen@imtexaslaw.com
              1731 Village Center Circle, Suite 150




                                                      12
                                                                DAVID MINCIN on behalf of Creditor HEALTHPLUS IMAGINING OF TEXAS, LLC
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13        dmincin@mincinlaw.com, cburke@mincinlaw.com
                        (702) 471-7432




                                                      14        MICHAEL D. NAPOLI on behalf of Creditor TECUMSEH - INFINITY MEDICAL
                                                                RECEIVABLES FUND, LP
                                                      15        michael.napoli@akerman.com,
                                                                cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;masterdocketlit@ake
                                                      16        rman.com
                                                      17        TRENT L. RICHARDS on behalf of Creditor THE INJURY SPECIALISTS
                                                                trichards@sagebrushlawyers.com
                                                      18
                                                                ARIEL E. STERN on behalf of Creditor TECUMSEH - INFINITY MEDICAL
                                                      19        RECEIVABLES FUND, LP
                                                                ariel.stern@akerman.com, akermanlas@akerman.com
                                                      20
                                                                U.S. TRUSTEE - LV - 7
                                                      21        USTPRegion17.LV.ECF@usdoj.gov
                                                      22        MATTHEW C. ZIRZOW on behalf of Debtor INFINITY CAPITAL MANAGEMENT,
                                                                INC.
                                                      23        mzirzow@lzlawnv.com,
                                                                carey@lzlawnv.com;trish@lzlawnv.com;jennifer@lzlawnv.com;zirzow.matthewc.r99681
                                                      24        @notify.bestcase.com
                                                      25              տ        b.       United States mail, postage fully prepaid:
                                                      26              տ        c.       Personal Service:
                                                      27              I personally delivered the document(s) to the persons at these addresses:
                                                      28                                տ      For a party represented by an attorney, delivery was made by


                                                                                                      Page 3 of 4
                                                           Case 21-01167-abl        Doc 33   Entered 01/12/22 14:55:51        Page 4 of 17



                                                       1              handing the document(s) at the attorney’s office with a clerk or other person in
                                                                      charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                       2              in the office.

                                                       3                              տ       For a party, delivery was made by handling the document(s)
                                                                      to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                       4              place of abode with someone of suitable age and discretion residing there.

                                                       5              տ       d.      By direct email (as opposed to through the ECF System):
                                                                      Based upon the written agreement of the parties to accept service by email or a
                                                       6              court order, I caused the document(s) to be sent to the persons at the email
                                                                      addresses listed below. I did not receive, within a reasonable time after the
                                                       7              transmission, any electronic message or other indication that the transmission was
                                                                      unsuccessful.
                                                       8
                                                                      տ        e.       By fax transmission:
                                                       9
                                                                      Based upon the written agreement of the parties to accept service by fax
                                                      10              transmission or a court order, I faxed the document(s) to the persons at the fax
                                                                      numbers listed below. No error was reported by the fax machine that I used. A copy
                                                      11              of the record of the fax transmission is attached.
              1731 Village Center Circle, Suite 150




                                                      12              տ        f.       By messenger:
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13              I served the document(s) by placing them in an envelope or package addressed to
                        (702) 471-7432




                                                                      the persons at the addresses listed below and providing them to a messenger for
                                                      14              service.

                                                      15              I declare under penalty of perjury that the foregoing is true and correct.

                                                      16              Dated: January 12, 2022.
                                                                                                        By: /s/ Bart K. Larsen, Esq,
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Case 21-01167-abl   Doc 33   Entered 01/12/22 14:55:51   Page 5 of 17




                    EXHIBIT 1
                          Case 21-01167-abl                 Doc 33         Entered 01/12/22 14:55:51                    Page 6 of 17
B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (12/15)

                                      UNITED STATES BANKRUPTCY COURT
                                                        Nevada
  _________________________________________ District of _________________________________________
      Infinity Capital Management, Inc.
In re __________________________________________
                                    Debtor
                                                                                              21-14486-abl
                                                                                     Case No. _____________________
          (Complete if issued in an adversary proceeding)
                                                                                             7
                                                                                     Chapter ___________
HASelect-Medical Receivables Litigation Finance Fund International SP
_________________________________________
                                    Plaintiff
                                       v.                                                           21-01167-abl
                                                                                     Adv. Proc. No. ________________
__________________________________________
Tecumseh-Infinity Medical Receivables Fund, LP
                                  Defendant

         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
      Three Bell Capital, LLC, c/o Jonathan Porter, 4 Main Street, Suite 230, Los Altos, CA 94022
  To: ________________________________________________________________________________________
                                         (Name of person to whom the subpoena is directed)

     Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material: See Exhibit A attached hereto

  PLACE                                                                                                      DATE AND TIME
  Shea Larsen PC 1731 Village Center Circle, Suite 150 Las Vegas, Nevada 89134                              February 3, 2022 by 5:00 p.m.

      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
  PLACE                                                                                                      DATE AND TIME




          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.
        1/12/2022
  Date: _____________
                                    CLERK OF COURT

                                                                                    OR
                                    ________________________                                /s/ Bart K. Larsen, Esq.
                                                                                             ________________________
                                    Signature of Clerk or Deputy Clerk                            Attorney’s signature

  The name, address, email address, and telephone number of the attorney representing (name of party) HASelect-Medical Receivables
  ____________________________
  Litigation Finance Fund International, SP , who issues or requests this subpoena, are:
  BART K. LARSEN, ESQ., 1731 Village Center Circle, Suite 150, Las Vegas, Nevada 89134 (702) 471-7432
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                        Case 21-01167-abl                  Doc 33         Entered 01/12/22 14:55:51                      Page 7 of 17
B2570 ((Form 2570 – Subpoena
                       p     to Produce Documents,, Information,, or Objects
                                                                       j     or To Permit Inspection
                                                                                             p       in a Bankruptcy
                                                                                                                p y Case or Adversary
                                                                                                                                    y Proceeding)
                                                                                                                                               g) ((Page
                                                                                                                                                      g 2))



                                                                 PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                    ________________________________________________
                                                                                                                  Server’s signature

                                                                                    ________________________________________________
                                                                                                               Printed name and title


                                                                                    ________________________________________________
                                                                                                                   Server’s address


Additional information concerning attempted service, etc.:
                         Case 21-01167-abl                   Doc 33          Entered 01/12/22 14:55:51                   Page 8 of 17
B2570 ((Form 2570 – Subpoena
                       p     to Produce Documents,, Information,, or Objects
                                                                       j     or To Permit Inspection
                                                                                             p       in a Bankruptcy
                                                                                                                p y Case or Adversary
                                                                                                                                    y Proceeding)
                                                                                                                                               g) ((Page
                                                                                                                                                      g 3))


                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                      (ii) disclosing an unretained expert's opinion or information that does
                                                                                        not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                           (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                   described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                              modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly            conditions if the serving party:
transacts business in person, if the person                                                    (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                           be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                      (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                                compensated.

  (2) For Other Discovery. A subpoena may command:                                      (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,              (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                          procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                        information:
                                                                                            (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                        documents must produce them as they are kept in the ordinary course of
                                                                                        business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                        the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                            (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                        Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                        electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                        a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                        usable form or forms.
party or attorney who fails to comply.
                                                                                            (C) Electronically Stored Information Produced in Only One Form. The
                                                                                        person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                        information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                            (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                        responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                        from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                        of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                        order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                        reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                        made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                        requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                        26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                           (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                             (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                        information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                        trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                               (i) expressly make the claim; and
order compelling production or inspection.
                                                                                               (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                        or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                        privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                             (B) Information Produced. If information produced in response to a
                                                                                        subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                        preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                        received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                        notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                        information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                        until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                        information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                        promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                        where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                        who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                        is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                        …
motion, quash or modify the subpoena if it requires:
                                                                                        (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                        also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                        a person who, having been served, fails without adequate excuse to obey
                                                                                        the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
        Case 21-01167-abl        Doc 33       Entered 01/12/22 14:55:51       Page 9 of 17




                                         EXHIBIT A
                                          DEFINITIONS

       1.      “506 Investor Group” refers to 506 Investor Group, LLC, including its employees,

directors, officers, agents, servants, subsidiaries, parent company, affiliated companies, and other

persons acting or purporting to act on its behalf, including its Representatives, as well as anyone

known or believed to be a member of or affiliated with 506 Investor Group.

       2.      “Bankruptcy Case” refers the following case: In re Infinity Capital Management,

Inc., United States Bankruptcy Court for the District of Nevada, Case No. 21-14486-abl.

       3.      “Communication” means any oral or written statement, dialogue, colloquy,

discussion, or conversation, and includes any transfer of thoughts or ideas or data or information,

between persons or locations by means of any Documents or by any other means, including but

not limited to electronic or similar means.

       4.      “Control” means in your possession, custody, or control or under your direction,

and includes in the possession, custody, or control of those under the direction of you or your

employees, subordinates, counsel, accountant, consultant, expert, parent or affiliated corporation,

and any person purporting to act on your behalf.

       5.      “Document” means any written or graphic matter and other means of preserving

thought or expression and all tangible things from which information can be processed or

transcribed, including the originals and all non-identical copies, whether different from the original

by reason of any notation made on such copy or otherwise, including, but not limited to,

correspondence, emails, memoranda, notes, messages, letters, telegrams, teletype, telefax,

bulletins, meetings or other communications, inter-office and intra-office telephone calls, diaries,

chronological data, minutes, books, reports, studies, summaries, pamphlets, bulletins, printed

matter, charts, ledgers, invoices, worksheets, receipts, returns, computer printouts, prospectuses,

financial statements, schedules, affidavits, contracts, canceled checks, statements, transcripts,

statistics, surveys, magazine or newspaper articles, releases (and any and all drafts, alterations or

modifications, changes and amendments of any of the foregoing), graphic or aural records or

                                                  1
       Case 21-01167-abl         Doc 33     Entered 01/12/22 14:55:51        Page 10 of 17




representations of any kind (including without limitation, photographs, microfiche, microfilm,

videotape, records and motion pictures) and electronic, mechanical or electric records or

representations of any kind (including without limitation, tapes, cassettes, discs and records) as

well as all Electronically Stored Information (“ESI”), which refers to any type of information that

is created, used, or stored in digital form and accessible by digital means, including but not limited

to, all data, digital documents, email, electronic documents, and metadata of the same (and is

further defined below). For the avoidance of doubt, Document includes but is not limited to all

Communications.

       6.      “HASelect” refers to Creditor HASelect-Medical Receivables Litigation Finance

Fund International SP, including its employees, directors, officers, agents, servants, subsidiaries,

parent company, affiliated companies, and other persons acting or purporting to act on its behalf,

including its Representatives.

       7.      “Infinity” or “Debtor” refers to Debtor Infinity Capital Management, Inc.,

including its employees, directors, officers, agents, servants, subsidiaries, parent company,

affiliated company, and other persons acting or purporting to act on its behalf, including its

Representatives. For the avoidance of doubt, any request for Communications between You and
Infinity includes Communications between You and Oliver Hemmers or Anne Pantelas (or both).

       8.      “Person” refers to any natural individual, governmental entity, or business entity,

including a corporation, partnership, association, limited liability company, or other entity or

combination thereof, and all corporations, divisions, or entities affiliated with, owned, or

controlled directly or indirectly or owning or controlling directly or indirectly any such entities as

well as directors, officers, managers, employees, agents, attorneys, affiliates, or other

representatives thereof, or third parties retained by any of the above.

       9.      “PFD” refers to PFD Management, LLC, including its employees, directors,

officers, agents, servants, subsidiaries, parent company, affiliated companies, and other persons

acting or purporting to act on its behalf, including its Representatives

       10.     The terms “related to”, “relate to”, or “relating to” shall mean directly or

                                                  2
        Case 21-01167-abl           Doc 33   Entered 01/12/22 14:55:51       Page 11 of 17




indirectly, refer to, reflect, describe, pertain to, arise out of or in connection with, or in any way

legally, logically, or factually be connected with the matter discussed.

        11.     “Representative” means all agents, employees, servants, officers, directors,

attorneys, or other persons acting or purporting to act on behalf of the person in question.

        12.     “Tecumseh” refers to Tecumseh-Infinity Medical Receivables Fund, LP, including

its employees, directors, officers, members, agents, servants, subsidiaries, parent company,

affiliated company, and other persons acting or purporting to act on its behalf, including its

Representatives. For the avoidance of doubt, any request for Communications between You and
Tecumseh includes Communications between You and Chadwick Meyer, Mike Belotz, or Simon

Clark (or any combination thereof).

        13.     “You” or “Three Bell” refers to Three Bell Capital, LLC, including its employees,

directors, officers, members, agents, servants, subsidiaries, parent company, affiliated company,

and other persons acting or purporting to act on its behalf, including its Representatives.

                                         INSTRUCTIONS

        1.      The words “and” and “or” as used herein shall be construed either disjunctively or

conjunctively as required by the context to bring within the scope of these Requested Documents

any answer that might be deemed outside their scope by another construction,

        2.      When producing the Documents, please keep all Documents segregated by the file

in which the Documents are contained and indicate the name of the file in which the Documents

are contained, and the name of the Documents being produced.

        3.      When producing the required Documents, please produce all other Documents that

are clipped, stapled, or otherwise attached to any requested Document.

        4.      In the event such file(s) or Document(s) has (have) been removed, either for the

purpose of this action or for some other purpose, please state the name and address of the person

who removed the file, the title of the file and each subfile, if any, maintained within the file, and

the present location of the file.

        5.      Each draft, final Document, original, reproduction, and each signed and unsigned

                                                  3
       Case 21-01167-abl        Doc 33      Entered 01/12/22 14:55:51        Page 12 of 17




Document and every additional copy of such Document where such copy contains any

commentary, note, notation or other change whatsoever that does not appear on the original or on

the copy of the one Document produced shall be deemed and considered to constitute a separate

Document.

       6.      If any Document encompassed by the attached requests for production of

Documents is deemed by you to be privileged, furnish all non-privileged Documents and provide

a log outlining all Documents claimed as privileged which includes: (a) the type of privilege

claimed for each Document; (b) a brief description of the Document; (c) the author of the

Document sufficient to identify it; (d) the recipient (if any); (e) the date of the Document.

       7.      When appropriate, the singular form of a word should be interpreted in the plural

as may be necessary to bring within the scope hereof any Documents which might otherwise be

construed to be outside the scope hereof.

       8.      In addition to Documents currently in your possession, custody, or control, you are

to produce all Documents within the scope of these requests that are not currently in your

possession, custody, or control but can be obtained through reasonable effort.

       9.      This request calls for the production of all electronic Documents and electronically

stored information (ESI) responsive to the requests below, including but not limited to e-mails and

any related attachments, electronic files, or other data compilations that relate to the categories of
Documents requested below. Your search for these electronically stored Documents shall include

all of your computer hard drives, floppy discs, compact discs, backup and archival tapes,

removable media such as zip drives, password protected and encrypted files, databases, electronic

calendars, personal digital assistants, iPhones, smart phones, tablets, iPads, proprietary software,

and inactive or unused computer disc storage areas.

       10.     Unless otherwise stated, the following requests relate to the time period of January

1, 2018 through the date of your response.

                          DOCUMENT PRODUCTION REQUESTS
       1.      All Documents relating to any Communication between You and any Person that

                                                  4
        Case 21-01167-abl        Doc 33      Entered 01/12/22 14:55:51          Page 13 of 17




invested in, or to whom You recommended investing in, HASelect or Tecumseh, including, but

not limited to, any information posted to any blog, message board, forum, or other means of

communicating with actual or potential investors in HASelect or Tecumseh, including, but not

limited to, Communications directed at or facilitated through 506 Investor Group.

        2.      All Documents relating to any Communication between You and any Person

relating to investing in, doing business with, or concerning the business of HASelect or Tecumseh,

including, but not limited to, any information posted to any blog, message board, forum, or other

means of communicating with actual or potential investors in HASelect or Tecumseh, including,

but not limited to, Communications directed at or facilitated through 506 Investor Group.

        3.      All Documents relating to any Communication between You and any Person

relating to (i) Infinity, (ii) any asset of Infinity, (iii) any actual or potential business transaction

involving Infinity, (iv) any debt or other obligation owed by Infinity, (v) any contract or other

business arrangement to which Infinity was a party, (vi) any account receivable in which Infinity

received any assignment or any right, title, or interest or for which Infinity provided any service

to any third party, (vii) any loan made to or requested by Infinity, or (viii) any investment capital

contributed to or requested by Infinity.

        4.      All Documents relating to any Communication between You and Infinity relating

to (i) Infinity, (ii) any asset of Infinity, (iii) any actual or potential business transaction involving
Infinity, (iv) any debt or other obligation owed by Infinity, (v) any contract or other business

arrangement to which Infinity was a party, (vi) any account receivable in which Infinity received

any assignment or any right, title, or interest or for which Infinity provided any service to any third

party, (vii) any loan made to or requested by Infinity, or (viii) any investment capital contributed

to or requested by Infinity.

        5.      All Documents relating to any Communication between You and Tecumseh

relating to (i) Infinity, (ii) any asset of Infinity, (iii) any actual or potential business transaction

involving Infinity, (iv) any debt or other obligation owed by Infinity, (v) any contract or other

business arrangement to which Infinity was a party, (vi) any account receivable in which Infinity

                                                   5
       Case 21-01167-abl         Doc 33     Entered 01/12/22 14:55:51         Page 14 of 17




received any assignment or any right, title, or interest or for which Infinity provided any service

to any third party, (vii) any loan made to or requested by Infinity, or (viii) any investment capital

contributed to or requested by Infinity.

       6.      All Documents relating to any Communication between You and FTM relating to

(i) Infinity, (ii) any asset of Infinity, (iii) any actual or potential business transaction involving

Infinity, (iv) any debt or other obligation owed by Infinity, (v) any contract or other business

arrangement to which Infinity was a party, (vi) any account receivable in which Infinity received

any assignment or any right, title, or interest or for which Infinity provided any service to any third

party, (vii) any loan made to or requested by Infinity, or (viii) any investment capital contributed

to or requested by Infinity.

       7.      All Documents relating to any Communication between You and PFD relating to

(i) Infinity, (ii) any asset of Infinity, (iii) any actual or potential business transaction involving

Infinity, (iv) any debt or other obligation owed by Infinity, (v) any contract or other business

arrangement to which Infinity was a party, (vi) any account receivable in which Infinity received

any assignment or any right, title, or interest or for which Infinity provided any service to any third

party, (vii) any loan made to or requested by Infinity, or (viii) any investment capital contributed

to or requested by Infinity.

       8.      All Documents relating to any Communication between You and any Person
relating to (i) Tecumseh, (ii) any asset of Tecumseh, (iii) any actual or potential business

transaction involving Tecumseh, (iv) any debt or other obligation owed by Tecumseh, (v) any

contract or other business arrangement to which Tecumseh was a party, (vi) any account receivable

in which Tecumseh claimed or claims any right, title, or interest, (vii) any loan made to or

requested by Tecumseh, or (viii) any investment capital contributed to or requested by Tecumseh.

       9.      All Documents relating to any Communication between You and Infinity relating

to (i) Tecumseh, (ii) any asset of Tecumseh, (iii) any actual or potential business transaction

involving Tecumseh, (iv) any debt or other obligation owed by Tecumseh, (v) any contract or other

business arrangement to which Tecumseh was a party, (vi) any account receivable in which

                                                  6
       Case 21-01167-abl          Doc 33   Entered 01/12/22 14:55:51      Page 15 of 17




Tecumseh claimed or claims any right, title, or interest, (vii) any loan made to or requested by

Tecumseh, or (viii) any investment capital contributed to or requested by Tecumseh.

       10.    All Documents relating to any Communication between You and Tecumseh

relating to (i) Tecumseh, (ii) any asset of Tecumseh, (iii) any actual or potential business

transaction involving Tecumseh, (iv) any debt or other obligation owed by Tecumseh, (v) any

contract or other business arrangement to which Tecumseh was a party, (vi) any account receivable

in which Tecumseh claimed or claims any right, title, or interest, (vii) any loan made to or

requested by Tecumseh, or (viii) any investment capital contributed to or requested by Tecumseh.

       11.    All Documents relating to any Communication between You and FTM relating to

(i) Tecumseh, (ii) any asset of Tecumseh, (iii) any actual or potential business transaction

involving Tecumseh, (iv) any debt or other obligation owed by Tecumseh, (v) any contract or other

business arrangement to which Tecumseh was a party, (vi) any account receivable in which

Tecumseh claimed or claims any right, title, or interest, (vii) any loan made to or requested by

Tecumseh, or (viii) any investment capital contributed to or requested by Tecumseh.

       12.    All Documents relating to any Communication between You and PFD relating to

(i) Tecumseh, (ii) any asset of Tecumseh, (iii) any actual or potential business transaction

involving Tecumseh, (iv) any debt or other obligation owed by Tecumseh, (v) any contract or other

business arrangement to which Tecumseh was a party, (vi) any account receivable in which
Tecumseh claimed or claims any right, title, or interest, (vii) any loan made to or requested by

Tecumseh, or (viii) any investment capital contributed to or requested by Tecumseh.

       13.    All Documents relating to any Communication between You and any Person

relating to 506 Investor Group.

       14.    All Documents relating to any Communication between You and Tecumseh

relating to 506 Investor Group.

       15.    All Documents relating to any Communication between You and FTM relating to

506 Investor Group.

       16.    All Documents relating to any Communication between You and PFD relating to

                                                7
       Case 21-01167-abl          Doc 33   Entered 01/12/22 14:55:51         Page 16 of 17




506 Investor Group.

        17.     All Documents relating to any Communication between You and Infinity relating

to 506 Investor Group.

        18.     All Documents relating to any Communication between You and Tecumseh

relating to 506 Investor Group.

        19.     All Documents relating to any Communication between You and 506 Investor

Group relating to Infinity.

        20.     All Documents relating to any Communication between You and 506 Investor

Group relating to Tecumseh.

        21.     All Documents relating to any Communication between You and 506 Investor

Group relating to HASelect.

        22.     All Documents relating to any Communication between You and any Person

relating to any actual or threatened legal action, including any lawsuit or regulatory complaint,

against Infinity.

        23.     All Documents relating to any Communication between You and any Person

relating to the Bankruptcy Case.

        24.         All Documents relating to any Communication between You and any Person

relating to any actual or threatened legal action, including any lawsuit or regulatory complaint,
against Tecumseh.

        25.     All Documents relating to any Communication between You and any Person

relating to any actual or threatened legal action, including any lawsuit or regulatory complaint,

against HASelect.

        26.     All Documents relating to any Communication between You and any Person

relating to any actual or potential conflict of interest relating to Your investment in Tecumseh.

        27.     All Documents relating to any Communication between You and any Person

relating to any actual or potential conflict of interest relating to Your investment in HASelect.

        28.     All Documents and all Communications between You and any Person relating to

                                                 8
      Case 21-01167-abl      Doc 33       Entered 01/12/22 14:55:51   Page 17 of 17




any agreement between You and Infinity.

       29.    All Documents and all Communications between You and any Person relating to

any agreement between You and Tecumseh.




                                               9
